Case 24-10409-TMH Doci1 Filed 03/14/24 Page 1iof4

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Lane Loe

United States Bankruptcy Court for the:

District of 7024 HAR 14 AM j0: 43

(State)
Case number (i ) Chapter CLERK

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Official Form 205
Involuntary Petition Against a Non-Individual

Q

Check if this is an
amended filing

12/15

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor's name and case number (if

known).

Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed

4. Chapter of the Check one:
Bankruptcy Code
a Chapter 7

Q Chapter 11

eee tcentity the Debtor

2. Debtor’s name bank OF MEW fo 1 A nel Y W rel

3. Other names you know CO W Ht: e OO FOME Lg U/. JfYLOAN

the debtor has used in
the last 8 years

Include any assumed
names, trade names, or
doing business as names.

4. Debtor’s federal

Employer Identification 135 / j ) g Y 4

5. Debtor’s address

Mh french

Principal place of business . Mailing address, if different

Number Street 2) Number Street

State

ZIP Code

i } a P.O. Box

A Be

Vew jh bow NG

City , " T State” ZIPCode = Gilly
_ Location of principal assets, if different from
- principal place of business

County i i Number Street

 Sity

State

ZIP Code

Official Form 205 Involuntary Petition Against a Non-Individual

page 1
Case 24-10409-TMH Doc1 Filed 03/14/24 Page 2 of 4

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13. Each petitioner’s claim

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Total of petitioners’ claims

If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor’s name and the case number, if known, at
the top of each sheet. Following the format of this form, set out the information required in Parts 3 and 4 of the form for each
additional petitioning creditor, the petitioner’s claim, the petitioner's representative, and the petitioner's attorney. Include the
statement under penalty of perjury set out in Part 4 of the form, followed by each additional petitioner's (or representative's) signature,
along with the signature of the petitioner’s attorney.

Request for Relief

WARNING — Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. fa
petitioning creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a
foreign representative appointed in a foreign proceeding, attach a certified copy of the order of the court granting recognition.

| have examined the information in this document and have a reasonabie belief that the information is true and correct.

Name and mailing address of petitioner

DAMES CLIK

Name Printed name

Firm name, if any

SI potmel We My

Number Street

Number Street

ash Le 4oifb

State ZIP Code

Name and mailing address of petitioner's representative, if any City State ZIP Code

L

Contact phone Email

= 7

Bar number

Number Street /

State

State ZIP Code

x

Signature of attorney

x Zant. (Webi ed

Signa of petitioner or representative, including representative's title

Date signed

MM /DD /YYYY

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Official Form 205 involuntary Petition Against a Non-Individual page 3
Case 24-10409-TMH Doc1 Filed 03/14/24 Page 3 of 4

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Name

6. Debtor’s website (URL)

7. Type of debtor

a Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
() Partnership (excluding LLP)
LJ Other type of debtor. Specify:

8. Type of debtor’s
business

Check one:

C} Health Care Business (as defined in 11 U.S.C. § 101(27A))
Q) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
LJ Railroad (as defined in 11 U.S.C. § 101(44))

LJ Stockbroker (as defined in 11 U.S.C. § 101(53A))

(J Commodity Broker (as defined in 11 U.S.C. § 101(6))

a Clearing Bank (as defined in 11 U.S.C. § 781(3))

C) None of the types of business listed.

CJ Unknown type of business.

9. To the best of your
knowledge, are any
bankruptcy cases
pending by or against
any partner or affiliate
of this debtor?

Aa No
QC) Yes. Debtor Relationship
District Date filed Case number, if known
MM/DD / YYYY
Debtor Relationship
District Date filed Case number, if known.
MM /DD/YYYY

Report About the Case

10. Venue

Check one:

QD over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
business, or principal assets in this district longer than in any other district.

QA bankruptcy case concerning debtor's affiliates, general partner, or partnership is pending in this district.

11. Allegations

Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

At least one box must be checked:

g The debtor is generally not paying its debts as they become due, unless they are the subject of a bona
fide dispute as to liability or amount.

UJ Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
agent appointed or authorized to take charge of less than substantially all of the property of the
debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

12. Has there been a
transfer of any claim
against the debtor by or
to any petitioner?

(A No

(J Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy
Rule 1003(a).

Official Form 205

Involuntary Petition Against a Non-Individual page 2

Case 24-10409-TMH Doc1 Filed 03/14/24 Page 4of4

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Case number (known)

Name and mailing address of petitioner

Name

Number Street

City State ZIP Code

Printed name

Firm name, if any

Number Street

1“ na: . . i ZIP C
Name and mailing address of petitioner's representative, if any City State IP Code
Contact phone Email
Name
Bar number
Number Street
State
City State ZIP Code
| declare under penalty of perjury that the foregoing is true and correct.
Executed on
MM /DD /YY Signature of attorney
Date signed
Signature of petitioner or representative, including representative's title MM /DD /YYYY
Name and mailing address of petitioner
Name Printed name
Firm name, if any
Number Street
City State ZIP Code Number Street
Name and mailing address of petitioner’s representative, if any City State ZIP Code
Contact phone Email
Name
Bar number
Number Street
State
City State ZiP Code
| declare under penalty of perjury that the foregoing is true and correct.
Executed on
MM /DD /YYY Signature of attorney
Date signed
Signature of petitioner or representative, including representative's titie MM /DD /YYYY
Official Form 205 Involuntary Petition Against a Non-Individual page 4

